Case 2:18-cv-00283-JDL Document 25 Filed 05/16/19 Pagelofi PagelD #: 102

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MAINE

RONALD DESCHAINE

Plaintiff

OFFICER JOHN CHAMBERLAIN
And
OFFICER DEVON A. BOHACIK

Defendants

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Docket No. 2:18-cv-00283-JDL

STIPULATION OF DISMISSAL

NOW COME the parties to this action, by and through counsel, and hereby stipulate to

the dismissal of the above-captioned action with prejudice and without costs to any party

pursuant to Rule 41 (a)(1)(A)(i1) of the Maine Rules of Civil Procedure.

Dated at Portland, Maine this lb Fesay of May, 2019. y

 

LLG

 

William Maselli

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Attorney for Plaintiff

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Dated at Portland, Maine thiseZ day of May, 2019. ee

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